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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

HALONDA NAFF and JARVIS NAFF, Cag@ NO,; 1;15_cv_()()515JLT
Plaintit`i"s,

vs §W

sTATE FARM GENERAL 1NSURANCE
COMPANY,

Defendant.

 

 

We, thejury in the above-entitled action, 1"1nd the following verdict on the questions submitted

10 us:

QueStion l:

Did State Farm breach the insurance contract?

Answer: ` Yes M . NO

[t` you answered “yes,” answer Question 2. lt` you answered “no,” sign, date and return this verdict.

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Question 2:

Did Ha|onda Nal"l" or .larvis Nat`l" make material misrepresentations to State Farm in connection

with their claim l"or insurance benefits?
Answer: ' Yes No //

lt` you answered “yes,” sign, date and return this verdict. ll" you answered “no,” answer Question 3.

Question 3:

Did Halonda Nat`t`and .larvis Nal"t`t`ail to cooperate in the investigation ot` their insurance

claim?

Answer: Yes No l_/_

lt` you answered “yes,” answer Question 5. lt` you answered “no,” answer Question 4.

Question 41

Was State Farm prejudiced by the failure of Halonda Naft` and .larvis Nat`t` to cooperate in the

investigation ot`their insurance claim?

Yes 1\lo ~ g

lf you answered “yes,” sign, date and return this verdict. lt` you answered “no,” answer Question 5.

 

 

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Question 5;

State the amount ofthe policy benefits that State Farm owes to the plaintiffs

s 1071 227£
(The am unt you enter may not exceed the policy limits of$lO7,274)

Answer Question 6.

Question 6:
Did State Farm breach thc implied covenant of good faith and fair dealing?

Yes-l // No

lf you answered “yes,” answer Question 7, lf you answered “no,” sign, date and return this verdict.

Question 7:

What amount, if any, do you award the plaintiff for emotional distress for the failure of State

Farm to act in good faith?

Halonda Naff $ 25 04 000

.larvis Naff $ £©¢ @©@

Answer Question 8.

 

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Question 8:

Did State Farm act 'l"raudulently or with malice or oppression‘?

Yes No g

     

Sign, date and return thi verdict.

 

Dated:

 
 

%/

Y PERSON

 

 

